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                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 FEDERAL ELECTION COMMISSION,          )
                                       )
               Plaintiff,              )
                                       )
       v.                              )      Case No. 8:06-cv-00068-SDM-EAJ
                                       )
 CONSTANTINE KALOGIANIS, et al.,       )
                                       )
               Defendants.             )


                   PLAINTIFF FEDERAL ELECTION COMMISSION’S
                          OPPOSITION TO DEFENDANTS’
                        MOTION FOR SUMMARY JUDGMENT


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        As the Commission demonstrated in its opening brief, based on the affidavits,

 documentary evidence, official agency records and evidentiary and judicial admissions made by

 the Defendants, there is no genuine dispute that the corporate defendants made six loans and in-

 kind contributions in the form of free office space and furniture to Mr. Kalogianis’s campaign

 committee. With regard to the Commission’s allegation that Defendants violated the Federal

 Election Campaign Act (“Act” or “FECA”) reporting provisions, Defendants now effectively

 concede that they violated those requirements of the Act by reporting those loans as if they had

 come from Mr. Kalogianis directly, and by misreporting the dates on which two loan refunds

 were made.1

        While these facts establishing violations of the Act are not seriously disputed on the

 evidence in the record, Defendants have tried to obfuscate them with a variety of arguments that

 lack legal basis and evidentiary support. As the Commission explains below and in its Response

 to Defendants’ Statement of Material Facts2 filed today, while Defendants’ characterization of

 the facts may differ from the Commission’s, any such dispute is not genuine because Defendants

 rely almost entirely on unsupported conclusory factual assertions, legal conclusions phrased as



 1
         Indeed, just yesterday Defendants suddenly filed twenty-five new and amended
 disclosure reports, in which they identify the corporations as the source of five of the loans, after
 years of refusing to take any such remedial action. These new reports mischaracterize the
 Liberty Title line of credit yet again, however, this time as a loan from Wells Fargo to the
 campaign committee, rather than from Liberty Title Agency, Inc. (“Liberty Title” or “Liberty”)
 See p. 14-15, infra.
 2
         Citations to “FEC Exhibit xxx” are to the exhibits accompanying the FEC’s Motion for
 Summary Judgment and this Opposition. Citations to “FECxxxxx” are to Bates-numbered pages
 within the Commission’s exhibits. An updated Table of Exhibits and conversion table (FEC
 Bates-number to FEC Exhibit number) are provided as FEC Appendix A.
         Citations to “Facts” are to the FEC’s Statement of Material Facts (Docket # 41-1) and
 citations to “Def. Facts” are to the Defendants’ Statement of Material Facts (Docket # 40-1).
         References to “MUR” refers to a “Matter Under Review,” which is the Commission’s
 term for matters during the administrative enforcement proceeding.


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 factual assertions, and claims that are contradicted by the record. It is black letter law that such

 materials are insufficient to avoid summary judgment. First National Bank of Arizona v. Cities

 Serv. Co., 391 U.S. 253, 289 (1968); Avirgen v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991). As

 a result, the Court should deny Defendants’ summary judgment motion and grant summary

 judgment to the Commission, because on the evidence in the record there is no genuine issue that

 Defendants violated the Act in the manner alleged by the Commission, and the Commission is

 entitled to judgment as a matter of law.

                                             ARGUMENT

 I.     THE LOANS WERE MADE USING CORPORATE FUNDS PROHIBITED BY
        SECTION 441b, NOT “PERSONAL FUNDS”

        The Commission explained in its opening brief (at 19) that while candidates are free to

 use bona fide salary and dividends they receive from corporations for their campaigns, the

 Commission has consistently concluded that corporate assets do not otherwise qualify as

 “personal funds” under the Commission’s regulation at 11 C.F.R. 110.10, even when the

 corporation is owned by the candidate. See generally id. at 17-22. Time and time again, in

 advisory opinions and enforcement actions over the past thirty years, the Commission has

 decided that a candidate’s use of his own corporation’s assets violates the Act’s prohibition

 against corporate contributions that broadly applies to “any corporation whatever.” See Br. at

 20-22. The Commission’s construction of the Act is entitled to traditional Chevron deference,

 FEC v. National Rifle Ass’n of America, 254 F.3d 173, 185 (D.C. Cir. 2001); FEC v. Ted Haley

 Congressional Comm., 852 F.2d 1111 (9th Cir. 1988), and its construction of its own “personal

 funds” regulation is entitled to “controlling weight . . . “unless it is plainly erroneous or

 inconsistent with the regulation.” Legal Environmental Assistance Corp. v. EPA, 276 F.3d 1253,

 1262 (11th Cir. 2001) (internal citations omitted). See also FEC Br. at 21.



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         Instead of admitting that the Commission has, without fail, construed the Act and its own

 regulations otherwise for nearly thirty years and providing some sort of explanation for why this

 Court should not afford the Commission’s interpretation of its own statute and regulations the

 substantial deference it is due, Defendants adopt their own construction of 110.10(a) that permits

 Mr. Kalogianis to use his corporation’s assets without limit, and they claim that a single

 Commission advisory opinion demonstrates that Mr. Kalogianis’s use of his corporations’ lines

 of credit was proper. Defendants first assert that because Mr. Kalogianis “wholly owns and

 controls” Kalogianis & Associates and Liberty Title Agency, Inc., “[t]hese financial resources

 easily fit within the regulatory definition of assets to which he had a ‘legal and rightful title,’ or

 an ‘equitable interest,’” Def. Br. at 10. Relying on Mr. Kalogianis’s assertion at deposition that

 as an “officer of these corporations” he “could have transferred the funds from my corporate

 account into my personal accounts” (id.), and the claim that he “personally controlled and

 guaranteed the Wells Fargo BusinessLine [account]” (id.), Defendants then declare that because

 Mr. Kalogianis was a corporate officer, who had “control” over the assets and lines of credit of

 the corporations, the requirements of Section 110.10 are met. Id at 11.

         It is not surprising that Defendants cite no legal precedent for considering Mr.

 Kalogianis’s role as a corporate officer in determining whether he had the requisite “legal right

 of access to or control over” the funds under Section 110.10(b)(1). Section 110.10 does not even

 refer to, much less create an exception to, the prohibition on corporate contributions in 2 U.S.C.

 441b, or to its explicit language making it illegal for “any officer or any director of any

 corporation . . . to consent to any contribution . . . by the corporation . . . prohibited by this

 section.” Section 110.10 implements 2 U.S.C. 441a, which imposes contribution limits such as

 the $1,000 limit on the amounts that an individual, other than the candidate himself, may




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 contribute to federal candidates.3 Section 110.10 merely clarifies the contribution and

 expenditure limits imposed in Section 441a by stating that those limits do not apply when the

 candidate makes a contribution of his own money to his campaign. Indeed, that is why the

 Commission placed it in Part 110 of the regulations, which implements the Act’s general

 contribution limits and prohibitions, rather than in Part 114 where the regulations implementing

 Section 441b are codified.

        There is nothing in the text or history of the regulation suggesting that the Commission’s

 “personal funds” regulation was intended to override Section 441b’s proscription against

 corporate officers consenting to the contribution of corporate funds, where the corporate officer

 is a candidate. Under Mr. Kalogianis’s construction, any candidate who holds stock in a

 corporation and also serves as a corporate officer with a “legal right of access to or control over”

 corporate funds would be entitled to contribute whatever portion of the corporation’s assets

 represented his “equitable interest” in the corporation to his campaign. Such an interpretation

 would eviscerate Section 441b’s general proscription on the contribution and expenditure of

 corporate funds, and it would contravene the explicit statutory provision that makes it illegal for

 a corporate officer to “consent” to a corporate contribution. Thus, while Defendants complain

 (Br. 12) that “the FEC” says “a candidate for federal office cannot use his personal resources to

 challenge an incumbent [if] those resources [are] held” in a wholly-owned corporation, it is

 actually Section 441b of the statute that provides this since it explicitly applies to the assets of


 3
         As mentioned in the FEC’s opening brief (Br. 3, n.2), all the facts occurred prior to the
 effective date of the Bipartisan Campaign Reform Act of 2002 (“BCRA”), Pub. L. 107-155, 116
 Stat. 81 (2002). Under the Act as modified by BCRA, the individual contribution limit is
 currently $2,200. 2 U.S.C. 441a(a)(1)(A). Accordingly, unless specified, all citations to the Act
 or statements regarding provisions of the Act in this brief refer to the Act as it existed prior to the
 effective date of BCRA. Similarly, all citations to the Commission’s regulations or statements
 regarding any particular regulations refer to the 2002 edition of Title 11, Code of Federal
 Regulations, published prior to the Commission’s promulgation of regulations under BCRA.


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 “any corporation whatever” and all candidates, challengers and incumbents alike. See United

 States v. Gonzalez, 520 U.S. 1, 5 (1997) (“[T]he word ‘any’ has an expansive meaning, that is,

 one or some indiscriminately of whatever kind”) (quoting Webster’s Third New International

 Dictionary 97 (1976)).

        Defendants assert (Br. 10-11) that Commission Advisory Opinion 1994-26 supports Mr.

 Kalogianis’s use of the Wells Fargo line of credit, but that opinion involved a candidate’s

 personal lines of credit, not a corporate line of credit such as the one provided by Wells Fargo, so

 that opinion is simply inapplicable to the Section 441b violation at issue here. Moreover, the

 Commission emphasized in that opinion that even a personal loan to a candidate for use in his

 campaign can only be accepted from a “state bank, a Federally chartered depository institution,

 or a depository institution whose deposits and accounts are insured by the Federal Deposit

 Insurance Corporation,” id. at 1 (citing 11 C.F.R. 100.7(b)(11) and 2 U.S.C. 431(8)(B)(vii)). The

 two corporations, the original source of five of the loans, were neither banks nor lending

 institutions, and thus were not permitted by the Act to lend funds to a campaign committee. 4



 4
          Defendants assert (Br. 11) that in a footnote to this opinion the Commission “found” that
 the funds from the lines of credit “belonged to the candidate as a gift,” which is one of the
 permissible sources of personal funds under Section 110.10(b), and then go on to argue that in
 this case, “the funds loaned to [the Kalogianis Committee] were at least as accessible to Mr.
 Kalogianis as a gift, salary, or dividend from his corporations.” The Commission, however, did
 not conclude that even personal lines of credit are gifts, and explicitly stated in the opinion that
 “an availability of funds from a line of credit . . . does not meet the definition of personal funds
 under Commission regulations at 11 C.F.R. 110.10(b) . . . .” Indeed, the Commission did not
 regard the loans as having been made to the candidate, but instead analyzed their permissibility
 as if they were made directly to the Committee, because when a candidate personally obtains a
 loan for use in connection with his or her campaign, the candidate receives the loan as an agent
 of the committee. AO 1994-26 at 1 n.1 (citing 2 U.S.C. 432(e)(2); 11 C.F.R. 101.2 and
 102.7(d)). Such loans are reportable and itemizable as loans from the bank to the committee,
 rather than as loans from the candidate to the committee.
          The Commission cited the personal funds regulation only by analogy in considering
 whether the lines of credit had been obtained by the candidate in contemplation of running for
 office, or had been granted by the banks knowing of his candidacy. Because the lines of credit


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        The advisory opinion goes on to explain that any campaign loan must be “made in the

 ordinary course of business,” which means that it bears the usual and customary rate of interest

 of the lending institution for the category of the loan involved, is evidenced by a written

 instrument, and is subject to a due date or amortization schedule. There is no evidence in this

 case that any interest was required or paid on the five loans the Kalogianis Committee received

 directly from the corporations, that there was any sort of written agreement for any of those

 loans, or that any had a due date for repayment or an amortization schedule. FEC Facts at 111.

        The Wells Fargo loan would not have satisfied the requirements of this Advisory Opinion

 either, even if it had been a personal loan instead of a business loan to a corporation, as Wells

 Fargo Operations Weber John Weber testified that it was. See Weber Decl. at ¶ 5 [229]. Like

 the other corporate loans, there is no evidence that this loan had either a due date or an

 amortization schedule. Moreover, Advisory Opinion 1994-26 specifies that a loan must meet the

 Commission’s standard for assurance of repayment, which requires either (1) traditional

 collateral, (2) a perfected security interest, (3) other sources of repayment, such as future income,

 that are properly assigned under the regulations, or (4) such other repayment assurances as the

 Commission may approve on a case-by-case basis. Id. at 2. Wells Fargo Operations Manager

 Weber testified that this loan was unsecured, so despite Defendants’ misleading claim that it was

 “guaranteed by [Mr. Kalogianis’s] assets” (Br. 12), Wells Fargo had neither the perfected


 long pre-dated the requestor’s candidacy, the Commission analogized them to “gifts of a
 personal nature that have been customarily received prior to candidacy” in concluding that two
 of the three lines of credit were “made in the ordinary course” of the banks’ businesses. In
 contrast, all six of the corporate loans at issue here post-dated Mr. Kalogianis’s candidacy, and
 the Wells Fargo line of credit was obtained after Mr. Kalogianis had decided to run for office.
 Moreover, Kalogianis & Associates and Liberty Title Agency are not accredited banking
 institutions, and there is no evidence that Mr. Kalogianis had any history of obtaining loans from
 these corporations for any other purpose. In none of these essential features do the corporations’
 loans resemble those permitted in AO 1994-26.


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 security interest nor the assignment of future income that the advisory opinion states is required

 for even a personal campaign loan to be permissible under the Act. See Weber Decl. at ¶ 10

 [229]. Indeed, the Wells Fargo loan was not even listed on Mr. Kalogianis’s credit report as a

 personal debt owed by him. FEC Resp. to Def. Facts at 24.

        Advisory Opinion 1994-26 also addresses the requirements for reporting for public

 disclosure the terms and conditions of loans that candidates or their committees take out for the

 purpose of providing funds to their campaigns, none of which Defendants followed in this case.

 The Commission explained that “when a candidate or political committee obtains a loan, or

 establishes a line of credit,” the committee must report the date and amount of the loan or line of

 credit, the interest rate and repayment schedule of each loan or draw on the line of credit, and the

 details of the basis of repayment, and must also file a copy of the loan or line of credit agreement

 when it first receives funds. AO 1994-26 at 3. The regulations require a certification from the

 lending institution attesting to the terms and conditions the committee reports, and stating that

 the loan or line of credit was made or established on terms and conditions no more favorable

 than those for similar credit granted to borrowers of comparable credit. Id. The Kalogianis

 Committee, however, amended its reports to state falsely that the last two loans were made by

 Mr. Kalogianis when in fact they were made by the corporations, and either falsely reported or

 failed to report almost all of this required information for all six of the loans, despite repeated

 requests from the Commission by letter and telephone over the course of several years that it do

 so. See FEC Facts at 62, 73, 74, 80, 81, 97, 104, 111, 112. In sum, if, as the Defendants suggest

 (Br. 12 n.4), they actually relied upon Advisory Opinion 1994-26, it would have provided them a

 detailed explanation of why their transactions were not in compliance with the law.




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        As we have shown, Defendants’ arguments for concluding that the corporate loans to the

 Kalogianis Committee met the Commission’s “personal funds” requirement, their arguments also

 rest largely upon conclusory factual assertions that are contrary to the evidence. For example, it

 is simply untrue as Defendants assert (Br. 12), that “[a]nother way of saying the same thing

 about the $27,000 Wells Fargo BusinessLine loan is that the loan was from the bank to the

 campaign.” In fact, Defendants never gave Wells Fargo any reason to suspect that the money

 from the Wells Fargo BusinessLine was being diverted from Liberty Title to Kalogianis’s

 campaign committee, and Wells Fargo Vice President Weber testified that this type of loan is

 only available to businesses. See Weber Decl. ¶ 9 [229]. Since this was a business loan to a

 corporation it is also not true, as Defendants assert (Br. 12), that Mr. Kalogianis, “not Liberty,

 used the funds and was obligated to repay the funds” – Liberty was the primary obligor for

 repayment of the funds and Mr. Kalogianis was only a guarantor for Liberty’s loan. See Weber

 Decl. ¶ 10 [229].

        We have shown that it is not true that “Liberty was not only dormant but incapable of

 functioning” (Def. Br. 12); Liberty made two other loans from its own bank accounts to the

 Kalogianis Committee, it filed annual reports for the next three years after the loans occurred,

 and more than $16,000 passed through its operating account, just a few months after November

 2000, when Defendants say that Liberty’s assets were sold. FEC Facts ¶ 29-31. Indeed, in

 December 2000 Mr. Kalogianis attested in the Wells Fargo loan application that Liberty Title

 still had substantial funds in its bank accounts and did not suggest that the corporation on whose

 behalf he was seeking a business line of credit was “incapable of functioning” (Def. Br. 12) as a

 result of selling its assets a month earlier. FEC Facts at 32.5



 5
        Contrary to Defendants’ assertion (Br. 16), it is not an undisputed fact that Mr.


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        Finally, Defendants’ assertion (Br. 12) that “KFC repaid [Mr. Kalogianis] and he repaid

 the bank” is belied by the evidence. According to the cancelled checks and bank records, the

 Kalogianis Committee repaid the original $27,000 drawn on the line directly to Wells Fargo, in a

 check made payable to the bank, and the committee made several interest payments on the

 subsequent $29,000 draw directly to Wells Fargo in the same manner. FEC Facts at 88-90. With

 these examples in mind, the Court should approach Defendants’ many conclusory factual

 assertions skeptically, and be particularly careful not to accept those that are not supported by

 actual evidence in the record.6



 Kalogianis in fact could have qualified for a personal loan in the amount that his corporations
 loaned to the campaign -- $54,528 – or that Kalogianis & Associates “could have paid [him] a
 bonus, dividend, salary or used other mechanisms” to provide him money. But these factual
 assertions are also purely speculative and unsupported by evidence, such as a showing that Mr.
 Kalogianis had sufficient personal assets to qualify for a loan of that size. It is, however, an
 undisputed fact that none of these alternative ways of converting corporate assets into Mr.
 Kalogianis’s “personal funds” were used in this case. Thus, even if they had been supported by
 evidence, such claims are nothing more than “the familiar tactic of substituting the purpose of the
 statue for its text, freeing the Court to write a different statute that achieves the same purpose.”
 Rapanos v. United States, 547 U.S. __, 126 S.Ct. 2208, 2234 (2006). Moreover, Mr. Kalogianis
 and Ms. Jones testified at deposition that the decision to loan the campaign the bulk of the money
 was made only a few days before the close of the reporting period, and that there would not have
 been sufficient time for Mr. Kalogianis to obtain the money in any other way in time for the
 campaign to show the desired financial strength on its 2001 Mid-Year disclosure report. See CK
 Depo. [252] at 140-141 (“We could have gone to a bank. We didn’t have enough time. We only
 had a few days . . .”).
 6
          Although Defendants analogize (Br. 11) the corporate funds to a “salary or dividend” to
 Mr. Kalogianis, there is no objective evidence to support the notion that any such salary or
 dividends were owed. Although Ms. Jones testified that the loans “would have been shown” on
 the corporate books and tax returns as a “distribution” to Mr. Kalogianis (Def. Facts ¶ 20),
 Defendants have never produced any corporate records, ledgers, tax returns, or any other
 documents to prove the truth of this statement. The Court of Appeals has “consistently held that
 conclusory allegations without specific supporting facts have no probative value,” Leigh v.
 Warner Brothers, 212 F.3d 1210, 1217 (11th Cir. 2000) (citation omitted), and under this
 Circuit’s adverse inference rule, “when a party has relevant evidence within his control which he
 fails to produce, that failure gives rise to an inference that the evidence is unfavorable to him.”
 Callahan v. Schultz, 783 F.2d 1543, 1545 (11th Cir. 1986) (citing International Union (UAW) v.
 NLRB, 459 F.2d 1329, 1336 (D.C. Cir. 1972)). Moreover, as we describe in more detail in ¶ 20


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 II.    2 U.S.C. 441b IS CONSTITUTIONAL AS APPLIED TO THE CORPORATE
        CONTRIBUTIONS MADE TO THE KALOGIANIS COMMITTEE

        As we explained in our opening brief (Br. 22), the Supreme Court has held that the ban

 on corporate contributions in Section 441b serves the compelling governmental interests of

 preserving the integrity of the electoral system and avoiding corruption and the appearance of

 corruption of the electoral process. The Supreme Court explained the constitutionally sufficient

 justification for prohibiting corporate contributions and expenditures in FEC v. Massachusetts

 Citizens for Life (“MCFL”), 479 U.S. 238, 257 (1986):

        [w]e have described that rationale . . . as the need to restrict the influence of
        political war chests funneled through the corporate form . . . , to eliminate the
        effect of aggregated wealth on federal elections . . . , to curb the political
        influence of those who exercise control over large aggregations of capital . . . ,
        and to regulate the substantial aggregations of wealth amassed by the special
        advantages which go with the corporate form of organization.

 (internal citations omitted). Thus, “[t]he statute reflects a legislative judgment that the special

 characteristics of the corporate structure require particularly careful regulation,” FEC v. National

 Right to Work Committee (“NRWC”), 459 U.S. 197, 209-210 (1982), which has led the

 Supreme Court to find constitutional a prohibition on independent expenditures by most

 corporations, as well as contributions, Austin v. Michigan Chamber of Commerce, 494 U.S. 652,

 658-660 (1990), even though it has found limits on independent expenditures by those other than


 of our Response to Defendants’ Statement of Facts, the Commission sought Defendants’ tax
 returns during discovery, and they refused to provide them, citing an inapplicable privilege.
 Under a second adverse inference rule, an “adverse inference is drawn from a party’s failure to
 preserve evidence []when the absence of that evidence is predicated on bad faith.” See Bashir v.
 AMTRAK, 119 F.3d 929, 929 (11th Cir. 1997). It is beyond dispute that Defendants have
 control over the corporate records of Kalogianis & Associates and Liberty Title Agency, and if
 there were anything contained in those records to support Ms. Jones’s assertion, they were
 obligated to provide it to the Court and to produce it to the Commission during discovery.
 Moreover, it appears that Defendants destroyed some records while this litigation has been
 ongoing. As a result, this Court should conclude that the records would not support Defendants’
 claims.


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 corporations and unions to be unconstitutional. Buckley v. Valeo, 424 U.S. 1, 50 (1976). As we

 have demonstrated (Br. 23-24), courts have repeatedly upheld the application of Section 441b to

 contributions by corporations of every kind, including non-profit organizations, see, e.g., FEC v.

 Beaumont, 539 U.S. 146 (2003),7 and those that are closely held, like the ones in this case. See

 Athens Lumber Co., Inc. v. FEC, 531 F.Supp. 756, 758 (M.D. Ga 1982), rev’d, 689 F.2d 1006

 (11th Cir. 1982), rh’g, 718 F.2d 363 (11th Cir. 1983) (en banc), cert denied 465 U.S. 1092

 (1984) (directors and shareholders of this closely-held corporation unanimously voted to make

 the contribution). In fact, no court has ever held Section 441b unconstitutional as applied to any

 kind of corporate contribution even though this prohibition has been the law of the land for 100

 years.8

           Defendants ignore the Supreme Court’s recognition that the corporate form itself is

 properly subject to this special restriction on contributions and expenditures, and instead ask this

 Court to conclude that Mr. Kalogianis is not likely to be corrupted here because he is the

 candidate, a corporate officer, and allegedly the only stockholder in these corporations.

 However, if quid-pro-quo candidate corruption were the only interest supporting Section 441b,

 as Defendants argue, the Supreme Court would not have found such a prohibition constitutional

 as applied to independent expenditures.


 7
         In MCFL, 479 U.S. at 263-264, the Supreme Court found the prohibition on independent
 expenditures unconstitutional as applied to a small class of non-profit issue advocacy
 organizations, but in Beaumont the Court found the prohibition on contributions constitutional,
 even as applied to that same class of corporations. Defendants could not rely on MCFL even if
 this case involved independent expenditures, however, because the contributions in this case
 were from for-profit business corporations.
 8
        When the prohibition of corporate contributions was first adopted, “[a]lthough some
 congressional proposals would have ‘prohibited political contributions by [only] certain classes
 of corporations . . . Congress acted on the President’s call for a outright ban, not with half
 measures.” Beaumont, 539 U.S. 146, 152 (internal citations omitted) (quoting United States v.
 UAW-CIO, 352 U.S. 567, 585 (1957)).


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        Regardless of whether this danger of “financial quid pro quo” corruption … may
        be sufficient to justify a restriction on independent expenditures, [a statutory
        prohibition on corporate campaign expenditures] aims at a different type of
        corruption in the political arena: the corrosive and distorting effects of immense
        aggregations of wealth that are accumulated with the help of the corporate form
        and that have little or no correlation to the public’s support for the corporation’s
        political ideas.

 Austin, 494 U.S. at 659-660 (citation omitted).

        State law grants corporations special advantages -- such as limited liability,
        perpetual life, and favorable treatment of the accumulation and distribution of
        assets -- that enhance their ability to attract capital and to deploy their resources in
        ways that maximize the return on their shareholders’ investments. These state-
        created advantages not only allow corporations to play a dominant role in the
        Nation’s economy, but also permit them to use ‘resources amassed in the
        economic marketplace’ to obtain ‘an unfair advantage in the political
        marketplace.’

 Id. at 658-659 (quoting MCFL, 479 U.S. at 257). Corporations are, therefore, “endowed with

 public attributes. They have a collective impact upon society, from which they derive the

 privilege of acting as artificial entities” and such “[f]avors from government often carry with

 them an enhanced measure of regulation.” United States v. Morton Salt Co., 338 U.S. 632, 652

 (1950). This “unique state-conferred corporate structure that facilitates the amassing of large

 treasuries warrants the limit on independent expenditures,” and “[c]orporate wealth can unfairly

 influence elections when it is deployed in the form of independent expenditures” or “assumes the

 guise of political contributions.” Austin, 494 U.S. at 660.

        Defendants rely (Br. 8) upon the ruling in Buckley, 424 U.S. at 58, that statutory

 provisions limiting the amount a candidate (or any other individual) spends of his or her own

 money to advocate an election result were unconstitutional. However, Buckley did not consider

 the constitutionality of Section 441b, and it said nothing about a candidate having a

 constitutional right in any circumstance to use unlimited amounts of corporate money to finance

 his or her campaign. In Austin, however, the Supreme Court addressed the question of corporate



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 funds and upheld a prohibition on independent expenditures using corporate funds. Moreover, in

 doing so, it confirmed that its rationale for upholding the prohibition of corporate contributions

 and expenditures based upon the particular concerns about money accumulated through the

 corporate form of business, is fully applicable to closely held business corporations like the ones

 in this case.

         Although some closely held corporations, just as some publicly held ones, may
         not have accumulated significant amounts of wealth, they receive from the State
         the special benefits conferred by the corporate structure and present the potential
         for distorting the political process. This potential for distortion justifies [the
         statutory prohibition’s] applicability to all corporations.

 Beaumont, 539 U.S. at 158 (quoting Austin, 494 U.S. at 661 (emphasis added)).

         Accordingly, regardless of what standard of review this Court would apply if the

 constitutionality of Section 441b’s prohibition of corporate contributions were still an open

 question,9 the Supreme Court has already upheld that provision based on reasoning that is fully

 applicable to the corporations that contributed to Mr. Kalogianis’s campaign, and those decisions

 are controlling here.10



 9
          Defendants’ argument (Br. 15) for strict scrutiny of this statutory restriction on
 contributions has repeatedly been rejected by the Supreme Court. All contribution restrictions
 indirectly affect expenditures by reducing the amount of money that may be available to a
 spender, but a candidate’s mere lack of additional funds to spend on advocacy no more violates
 his First Amendment rights when it results from contribution restrictions than when it results
 from his obligation to pay some of his money in taxes. The Supreme Court, therefore, “drew a
 line between expenditures and contributions, treating expenditure restrictions as direct restraints
 on speech …, which nonetheless suffered little direct effect from contribution limits.” Nixon v.
 Shrink Missouri Government PAC, 528 U.S. 377, 386 (2000) (citations omitted). See also, e.g.,
 id. at 387 (“We have consistently held that restrictions on contributions require less compelling
 justification than restrictions on independent spending’”) (quoting MCFL, 479 U.S. at 259-60);
 McConnell v. FEC, 540 U.S. 93, 137 (2003) (“[t]he less rigorous standard of review we have
 applied to contribution limits . . . shows proper deference to Congress’ ability to weigh
 competing constitutional interests in an area in which it enjoys particular expertise”).
 10
         Since the prohibition of corporate campaign contributions has already been found
 constitutional, there is no need for the Commission to provide any new evidence to support it, as


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 III.   DEFENDANTS VIOLATED 2 U.S.C. 434(b) BY FILING FALSE REPORTS

        As we have already demonstrated (Br. 26-28), after initially reporting the loans as having

 been made by the corporations, the Kalogianis Committee and its treasurer violated the Act’s

 reporting provision by falsely amending their reports to state that Mr. Kalogianis, rather than the

 corporations, made two of the loans at issue after the Commission pointed out to them that the

 corporate loans they had reported would violate the Act. Defendants also falsely reported that

 two of the loans were repaid in December 2002 when they were in fact repaid a year earlier. The

 Committee and its treasurer, until yesterday, refused to correct these reports, despite being told to

 do so repeatedly by the Commission over the course of the past five years.

        Defendants have not disputed that they did not comply with the statute’s reporting

 requirements. Although Defendants assert that “[s]ubsequent amendment to the reports

 identifying Mr. Kalogianis as the source of the loans merely confirmed who was providing funds

 to KFC,” Defendants later admit (Br. 27) that the information in their amendments was

 “incorrect,” adding that Mr. Kalogianis has “never denied that the campaign violated § 441b.”

 While they do not even attempt to argue that these false reports comply with the statutory

 provisions they are charged with violating, Defendants claim (Br. 20-21) that their false reports

 still satisfy the purposes of the statute. Even if it were plausible that reporting false information

 could somehow satisfy the Congressional purpose of accurately informing the public about

 candidates’ actual campaign finances, the courts enforce statutes as written by Congress, not

 Defendants assert it should (Br. 18). In Nixon v. Shrink Missouri Government PAC, 528 U.S.
 377 (2000), on which Defendants rely (Br. 19), the Supreme Court explained that “[t]he quantum
 of empirical evidence needed to satisfy heightened judicial scrutiny of legislative judgments will
 vary up or down with the novelty and plausibility of the justification raised.” Id. at 391. With
 regard to the corporate contribution prohibition in Section 441b, the Supreme Court did not find
 any new evidence necessary to decide that “[j]udicial deference is particularly warranted where,
 as here, we deal with a congressional judgment that has remained essentially unchanged
 throughout a century of careful legislative adjustment.” Beaumont, 539 U.S. at 162, n.9 (internal
 citation omitted).


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 some alternate requirement that a defendant might think would have served Congress’ purposes

 just as well. See n. 5, supra. In any event, the reports plainly did not provide the electorate with

 information as to where political campaign money came from and how it was spent, because they

 state falsely that Mr. Kalogianis, not the corporations, was the source of the money. They did

 not serve the interest in “exposing large contributors . . . to the light of publicity,” Buckley, 424

 U.S. at 67, because the Committee and its treasurer did not identify the actual contributors.

 Finally, the false amended reports would preclude anyone from “gather[ing] the data necessary

 to detect violations of the contribution limits,” id., because they falsely state that the

 contributions came from Mr. Kalogianis, rather than from the corporations which actually

 provided the funds in violation of Section 441b. Thus, contrary to Defendants’ claim, the false

 reports they filed serve none of the compelling governmental purposes served by the statute’s

 requirement of accurate and timely disclosure of campaign finances to the public, but have

 served only to mislead the public about the actual source of Mr. Kalogianis’s campaign funds.

 Since there is no dispute that Defendants violated the Act’s reporting requirements, the Court

 should enter summary judgment on that issue against the Defendants.

 IV.     THIS COURT SHOULD IMPOSE A CIVIL PENALTY SIZEABLE ENOUGH TO
         DETER THE TYPES OF VIOLATIONS FOUND, AND INJUNCTIVE RELIEF
         TO PROHIBIT THE REPETITION OF SUCH VIOLATIONS BY DEFENDANTS

         Defendants argue (Br. 21-29) that the Court should impose no remedy whatever – no

 civil penalty and no injunction – for any violations it finds them to have committed in this case.

 While Defendants cite two cases from the Ninth Circuit in support of the argument that a court

 finding violations need not provide any remedy,11 the Supreme Court has more recently made



 11
         In FEC v. Ted Haley Congressional Committee, 852 F.2d 1111 (9th Cir. 1988) and FEC
 v. Friends of Jane Harman, 59 F. Supp. 2d 1046 (C.D. Cal. 1999), the courts imposed no civil
 penalty or injunction despite finding that the defendants had violated the Act as alleged.


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 clear that a court’s remedial discretion is not that broad. “A district court cannot . . . override

 Congress’ policy choice, articulated in a statute, as to what behavior should be prohibited,” and

 “[o]nce Congress, exercising its delegated powers, has decided the order of priorities in a given

 area, it is . . . for the courts to enforce them when enforcement is sought.” United States v.

 Oakland Cannabis Buyers’ Cooperative, 532 U.S. 483, 497 (2001) (citation omitted). Absent

 contrary statutory language, a court’s choice in formulating a remedy “is simply whether a

 particular means of enforcing the statute should be chosen over another permissible means; [its]

 choice is not whether enforcement is preferable to no enforcement at all.” Id. (emphasis added).

 Moreover, “[i]t is well settled that once the Government has successfully borne the considerable

 burden of establishing a violation of law, all doubts as to the remedy are to be resolved in its

 favor.” United States v. E.I. du Pont de Nemours & Co., 366 U.S. 316, 334 (1961).

        In selecting a remedy, therefore, the Court should be guided by the provisions of the

 statute and by a consideration of what remedy, or combination of remedies, would best enforce

 the requirements of the Act in the circumstances of this case. Defendants do not address those

 questions, arguing instead that the violations here were not willful and the Court should,

 therefore, restrict a civil penalty to no more than 10% of the contributions at issue (without

 mentioning that the statute explicitly authorizes a penalty for non-willful violations equal to

 100% of the amount of any contributions involved). As we have shown in our opening brief, and

 elaborate below, the circumstances of this case call for a much higher civil penalty than 10%, if

 it is to serve as an effective deterrent to candidates tempted to skirt the law in the future to serve

 their own political ambitions. This case also calls for an injunction against repetition of these

 violations by the Defendants, who continue to insist they are entitled to engage in this type of




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 activity, and have repeatedly resorted to insubstantial legal arguments and factual assertions

 belied by the record to avoid all liability for their relatively blatant violations of the Act.

            A.     The Statue Authorizes A 100% Civil Penalty For Non-Willful Violations

            Defendants argue at length that no civil penalty is warranted because their violations

 were not willful, and were committed with good motives. As a legal matter, this argument is

 belied by the three different levels of remedies set out in the penalty provisions of the Act, which

 Defendants entirely ignore. Section 437g(a)(6)(B), which is the provision cited in the

 Complaint, authorizes the Court to impose a civil penalty up to the greater of $5,500 or the

 amount of the contribution involved for each violation of the Act that is found, without regard to

 scienter or intent. If the Court finds that a violation of the Act is “knowing and willful,” Section

 437g(a)(6)(C) authorizes a civil penalty double the amount permitted for a non-willful violation:

 the greater of $11,000 or twice the amount of the contribution involved. Finally, a person

 prosecuted criminally for “knowingly and willfully” violating any provision of the Act involving

 “the making, receiving, or reporting of any contribution or expenditure aggregating $2,000 or

 more” can be fined up to the greater of $25,000 or 300% of the contribution involved, and

 imprisoned for up to one year. 2 U.S.C. 437g(d)(1)(A) (2000).12 Thus, Congress has already

 expressly provided for the measurement of a civil penalty in terms of the amount of money

 involved and the willfulness of the respondent, and the statute explicitly provides for a civil

 penalty up to 100% of the amount of money involved in any “contribution” for a violation that is

 not willful. There is no legal basis for the Court to ignore the penalty level explicitly authorized

 by the statute for a non-willful violation, on the grounds that the violation at issue was not

 willful.


 12
          This provision was amended in 2002, but the amendments took effect after the violations
 in this case occurred.


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        In any event, as a factual matter, the record does not support any claim that Defendants

 tried in good faith to comply with the statute. According to the Defendants (Br. 27), they

 consulted the Commission’s Campaign Guide for Congressional Candidates and Committees to

 determine whether the loans were permissible, but the guide is explicit about the statute’s

 corporate contribution prohibition applying to all corporations. The guide instructs that

 “[c]ampaigns may not accept contributions made from the general treasury funds of corporations

 . . . This prohibition applies to any incorporated organization, including a nonstock corporation,

 an incorporated membership organization and an incorporated cooperative.” FEC Ex. 533 at 17

 (emphasis added). Defendants concede they understood from this that contributions from other

 corporations were prohibited (Br. 3), but the candidate guide makes no distinction between “third

 party” corporations and any other type of corporation. FEC Ex. 533 at 17.13

        As a practicing attorney, Mr. Kalogianis knew how to research legal rules, find relevant

 precedents (such as the advisory opinions discussed on pp. 17, 20, and 21 of our opening brief),

 and seek advice from a government agency (see 2 U.S.C. 437f), if he had really wanted to find

 out what the law required. Instead, he chose the convenient path of “assum[ing]” (see n. 13,

 supra) that what he wanted to do to advance his political ambitions would be permissible, despite

 the fact that the Commission campaign guide, which he admits consulting, clearly indicated it

 was not. “Ignorance of a statute is generally no defense even to a criminal prosecution, and it is


 13
         Mr. Kalogianis testified: “I actually recall seeing something in the handbook where bank
 loans were allowed. I then assumed I could make loans from my companies to the campaign as a
 result.” FEC SMF ¶ 64; CK Depo. [252] at 173. But, Mr. Kalogianis was well aware that his
 corporations are not banks. Moreover, the candidate guide clearly specifies that “[a] candidate or
 his or her committee may obtain a loan, including a loan of credit, from a bank, provided that the
 loan: bears the bank’s usual and customary interest rate for the category of loan involved; is
 evidenced by a written instrument; is subject to a due date or amortization schedule; and is made
 on a basis which assures repayment (see below). 100.7(b)(11).” FEC Ex. 533 at 18 (emphasis in
 original). As we have discussed, supra, pp. 5-7, none of the loans at issue here satisfied these
 requirements.


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 never a defense in a civil case, no matter how recent, obscure or opaque the statute.” Torres v.

 INS, 144 F.3d 472, 474 (7th Cir. 1998). A lawyer who knows that a statute is applicable to his

 actions, but chooses not to find out how it is actually applied, certainly cannot successfully argue

 that he made a good faith effort to comply with the law. Cf. McLaughlin v. Richland Shoe Co.,

 486 U.S. 128, 133 (1988) (a violation is “willful” if defendant “either knew or showed reckless

 disregard as to whether its conduct was prohibited by [the statute]”).

        Moreover, by December 2001, the Commission had specifically called to Ms. Jones’s

 attention that contributions from the corporations were prohibited and that funds provided by the

 corporations to the campaign were not Mr. Kalogianis’s “personal funds” under the regulations.

 FEC SMF ¶ 80. Defendants’ response was to amend their reports to represent falsely that Mr.

 Kalogianis, rather than the corporations, had made the loans that were outstanding at that time,

 and they engaged in a purported “refund” of those loans that simply rerouted the same corporate

 money back to the campaign through Mr. Kalogianis’s personal bank accounts, all in a single

 day. See FEC Br. at 7-8; FEC Facts at 88-96. This evidences an effort to evade the Act’s

 requirements by covering up the corporate source of the money, rather than a good faith effort to

 bring themselves into compliance with the law.

        Defendants assert (Br. 21) that they used the corporations’ funds with the innocent

 motive of avoiding corrupting Mr. Kalogianis with contributions from others, but this is belied

 by Mr. Kalogianis’s own testimony that he actually authorized the corporate loans in order to

 induce others to make contributions to his campaign.

        The issue was showing strength to get the attention of the important people
        who could then parlay that to maybe getting some party support, because
        the party has their targeted races. And if you’re not on their radar screen,
        you don’t get any support from the party and you don’t get support from
        the entities, like the PACs, that look to the party, to say should we give to
        this candidate.



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 CK Depo. [252] at 139. Indeed, Mr. Kalogianis explained that the reason the corporations made

 loans, rather than direct contributions, was to enable the campaign to repay the corporations later

 using money raised from others. “We set it up as loans so that if I prevailed, the hope would be

 that someday I could get repaid that money,” CK Depo. [252] at 51. In short, the Defendants’

 claim to this Court that Mr. Kalogianis’s motive was to make sure “that nobody owned [him]” is

 thoroughly impeached by his own testimony to the contrary.14

        B.      In Assessing A Civil Penalty, This Court Should Follow The Statutory
                Scheme, Rather Than Defendants’ 10% Formula

        As we have explained, the Act authorizes the Court to impose a civil penalty for non-

 willful violations, for each defendant, up to the greater of (i) $5,500 for each violation or (ii) the

 amount of any contributions or expenditures involved in each violation. See 2 U.S.C.

 437g(a)(6)(B); 11 C.F.R. 111.24(a)(1) (2000). The maximum civil penalty the Act authorizes

 the Court to assess for all of the violations alleged in this case is almost $300,000. See FEC Ex.

 513. This figure includes penalties for making, consenting to, and accepting, six prohibited

 corporate contributions totaling more than $54,000; for making, consenting to, and accepting

 prohibited in-kind corporate contributions; and for falsely reporting the sources of two of the

 loans and the dates of the repayment of two others.

        The appropriate civil penalty is certainly a matter within this Court’s discretion, but as

 shown above, the touchstones for calculating a penalty are the remedial provisions of the Act and

 the need to punish violators adequately and to deter similar violations by Defendants and others


 14
         Defendants suggest (Br. 26) that there is something unconventional about finding a
 violation of both the Act’s corporate contribution prohibition and its reporting requirement.
 Almost none of the cases Defendants cite involve reporting violations, however, and in none of
 them did the defendants falsely amend their reports to cover up the source of a loan after being
 questioned about it by the Commission, as Defendants did here.


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 with similarly overriding political ambitions. Ignoring these decisive factors entirely,

 Defendants argue (Br. 26) that their selective review of civil penalties awarded in some of the

 Commission’s enforcement cases over the past twenty years establishes a rule of thumb limiting

 civil penalties to 10% of the contributions involved. However, none of those decisions purport

 to follow any such 10% rule (which would conflict with the statute’s own 100% penalty

 standard) and each of these decisions turned on the particular facts and circumstances before the

 court. 15 In other cases, courts have imposed civil penalties between 75% and almost 100% of

 the amounts in violation. See, e.g., FEC v. Furgatch, 869 F.2d 1256, 1259 (9th Cir. 1989) (the

 court assessed a $25,000 penalty for a disclosure violation, which was eight dollars short of the

 expenditure involved); FEC v. Toledano, 317 F.3d 939, 953 (9th Cir. 2002) (upholding a $7,500

 penalty for a $10,000 violation,16 noting this was “quite generous to Toledano in light of his

 admitted misdeeds”).

        More relevant to this Court’s deliberations than the old decisions cited by Defendants is

 the contemporaneous level of civil penalties that have been paid for similar violations in recent


 15
          For example, unlike FEC v. Citizens for Senator Wofford, 1996 U.S. Dist. LEXIS 21501
 (M.D. Pa) (applying the Act’s contribution limits to a special election called after the death of a
 Senate candidate) or FEC v. National Republican Senatorial Committee, 761 F. Supp. 813, 824
 (D.D.C. 1991) (noting that “this is a matter of first impression” on which the Commission was
 initially “divided [in a 3-3 tie] over the meaning of its own regulation”), this case does not
 involve an issue of first impression or a point of law that was previously unclear. As we have
 demonstrated, the prohibition of all corporate contributions has been in effect for a century and
 the Commission has a thirty-year record of applying it to candidate-owned corporations. There
 is also no claim in this case, as there was in FEC v. Democratic Senatorial Campaign Committee
 (“DSCC”), 1:95-cv-2881-MHS, at 2 (N.D. Ga.) (July 8, 1997), that Mr. Kalogianis’s opponent
 was treated more favorably by the Commission for a “substantially similar violation” and thus
 there is no reason to reduce the civil penalty on that basis. It is also noteworthy that, while the
 court imposed no civil penalty on the candidate in Harman (see supra n.11, p.15, the corporation
 that had facilitated individual contributions to her campaign paid a $45,000 civil penalty in
 administrative conciliation. See MUR 3987 (Hughes Aircraft Co.) [FEC Ex. 530].
 16
        Defendants’ brief incorrectly states (Br. 25) that the court imposed a $7,000 penalty.



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 years. See, e.g., FEC MUR 5675 (ARMPAC) [FEC Ex. 526] ($115,000 civil penalty for

 reporting violations during the 2002 election cycle); MUR 5390 (Freddie Mac) [FEC Ex. 527]

 ($3.8 million civil penalty for making prohibited corporate contributions); and MUR 5388

 (Treffinger) [FEC Ex. 528] ($171,000 civil penalty for campaign committee’s failure to refund

 $227,080 in excessive contributions before paying legal fees). See also FEC Press Release, FEC

 Posts Record Year, Collecting $6.2 Million In Civil Penalties (Dec. 28, 2006) [FEC Ex. 529]. If

 civil penalties imposed after full litigation and adjudication in court are not appreciably higher

 than those arrived at through the statutory procedure of voluntary conciliation, the Commission’s

 ability to administer and enforce the Act effectively through the conciliation process -- “the

 preferred method of dispute resolution under FECA,” FEC v. National Rifle Ass’n of America,

 553 F. Supp. 1331, 1338 (D.D.C. 1983) -- will be severely undermined.

        Defendants argue (Br. 26, emphasis added) that their good faith is shown because they

 “initially reported the loans correctly as coming from corporations [and] candidly admitted the

 substance of the transactions to the FEC RAD analyst”17 (emphasis added). See also Br. 27 (“All

 of the loans were reported to the FEC and the public more than a year before the election”).

 Such an assertion completely ignores Defendants’ subsequent effort to amend that report to

 cover up the fact that the loans had come from corporations, their reporting of the loans as

 having been made by Mr. Kalogianis personally in their subsequent reports, and their refusal to

 correct the reports to state that the loans were from the corporations, until just yesterday.



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         Defendants’ claim (Br. 27) that “amendments were filed pursuant to the advice of the
 FEC RAD analyst” has no citation to the record and no support for it. As the Commission’s
 official records demonstrate, FEC RAD analysts requested over and over that the Kalogianis
 Committee file amendments to its reports to clarify the source and to disclose the terms of the
 loans and the details of the repayments, to no avail. FEC Facts at 62, 73, 74, 80, 81, 97, 104,
 111, 112.


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        Defendants also argue (Br. 27) that no penalty is warranted because “[t]he loans could

 have been made in a manner that did not violate 441b(a) wit[h] the same funds at issue in this

 case.” As discussed supra, n. 6, p. 9, Defendants produced no evidence at all to support the

 assertion that Mr. Kalogianis was in fact owed salary or dividends by his corporations at the time

 he needed the funds, or that he could have obtained a loan of this size personally from a bank.

 That alone distinguishes this case from Harman, in which the Commission explicitly “concede[d]

 that with only modest modifications, the events . . . would have been perfectly legal.” 59

 F.Supp.2d at 1057. Defendants assert (Br. 26-27) that they remedied their violations

 immediately by “refund[ing] most of the contributions as funds became available.” Unlike the

 candidate in Haley, however, who promptly corrected the illegal excessive loan guarantees he

 had received by paying off the guaranteed bank loan with his own personal funds, 852 F.2d at

 1116, Defendants only created the appearance of refunding the illegal corporate contributions,

 which they funneled back to the campaign the same day after routing them through the

 corporations’ and Mr. Kalogianis’s bank accounts. See p. 19, supra.

        Finally, in their effort to convince the Court that no meaningful monetary deterrent

 should be imposed, Defendants allege facts that are simply not true. There is no truth, for

 example, to Defendants’ remarkable claim (Br. 27) that Mr. Kalogianis “has never denied that

 the campaign violated 441b.” Before this Court, Defendants have not only vociferously denied

 violating Section 441b, but have also moved to amend their Answer and Rule 36 admissions to

 deny the undeniable underlying facts they previously admitted -- that the loans were actually

 made to the campaign using corporate funds and a corporate line of credit. Defendants therefore

 deserve no credit for acquiescing in the Commission’s view of the law, as they suggest (Br. 26),

 since they are actually continuing to resist that view of the law adamantly before this Court.




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        Even worse is Defendants’ assertion (Br. 7-8) that Mr. Kalogianis attempted to settle the

 matter during the administrative proceeding but the Commission’s staff acted in bad faith during

 conciliation by “refus[ing] to lower the amount of the fine they would recommend that the

 Commission accept” after he provided evidence that only $11,000 of the $42,000 loan made in

 June 2001 were from corporate funds. The evidence actually shows that the Commission

 initially offered in pre-probable cause conciliation a civil penalty totaling $64,000, divided

 equally between the corporations and Mr. Kalogianis as a corporate officer and director on the

 one hand, and the Kalogianis Committee, Ms. Jones as treasurer, and Mr. Kalogianis as the

 candidate, on the other. FEC Ex. 522 at 1. After Mr. Kalogianis provided evidence that $31,000

 of the $42,000 actually came from his personal account, rather than from the corporation, the

 Commission staff cut their civil penalty offer by more than half, reducing it to a total of $31,000

 for all of the Defendants. FEC Ex. 521 at 1. Despite the Commission’s flexibility, Mr.

 Kalogianis adamantly refused to offer more than $15,000, and also refused to admit in an

 agreement that any of the Defendants had violated Section 441b. See FEC Ex. 522, 524.18

        In sum, Defendants have provided no legitimate reason for this Court not to impose a

 substantial penalty for their violations. Civil penalties must be high enough to punish violators

 adequately and deter the Defendants and others with similar overriding political ambitions from

 trying to circumvent the Act. Civil penalties assessed to enforce statutory schemes enacted by



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         A discounted civil penalty of $31,000 was offered in the early stage of the administrative
 proceeding as an incentive to settle the matter without a full investigation or further proceedings
 before the Commission. FEC Ex. 521. After the Commission had investigated the matter, the
 General Counsel had briefed the case, and the Commission had made probable cause findings,
 the Commission again proposed conciliation, and after withdrawing the discount to induce early
 settlement, the Commission’s conciliation offer at that stage of proceedings was $60,000. FEC
 Ex. 523. As noted supra, p. 22, the imposition of lower civil penalties even later, after a
 respondent has continued to resist enforcement through full litigation, would be an incentive to
 respondents not to settle in conciliation.


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 Congress should “inflict a pocket-book deterrence.” Atlas Roofing Co. v. OSHRC, 518 F.2d

 990, 1001 (5th Cir. 1975), aff’d, 430 U.S. 442 (1977). According to the Defendants (Br. 3-4),

 Mr. Kalogianis willingly spent $169,000 of his own money “that will never be repaid” in pursuit

 of his political ambitions. The Court should take that into account in deciding just how much of

 a civil penalty is required to deter Mr. Kalogianis from violating the Act again should he run for

 office in the future. A person willing to commit that much money to achieving his political

 ambitions is not likely to be deterred by a judgment requiring the payment of only $20,000 or

 $30,000 more. To serve the purposes of enforcing the Act, a civil penalty in this case must be

 large enough to ensure that it will not be considered by the Defendants as an “acceptable cost” of

 doing business. See United States v. ITT Continental Baking Corp., 420 U.S. 223, 231 (1975).

        C.      Permanent Injunction Prohibiting Similar Violations Is Warranted

        The Act specifically provides that a district court “may grant a permanent or temporary

 injunction, restraining order, or other order, including a civil penalty . . . upon a proper showing

 that the person involved has committed, or is about to commit (if the relief sought is a permanent

 or temporary injunction or a restraining order), a violation of this Act.” 2 U.S.C. 437g(a)(6)(B).

 Although Defendants admit (Br. 28) that a “district court can exercise its discretion to issue an

 injunction pursuant to [2 U.S.C. 437g(a)(6)(B)] if there is a likelihood of future violations,” they

 also claim (Br. 29) that a permanent injunction can only be issued if the Defendants are “about to

 violate the law” again, and that a finding of a past statutory violation is not enough.

        This argument is contrary to the statutory language. Congress chose to authorize

 “permanent” injunctions in the provision of the Act that is applicable to non-willful violations,

 rather than limiting them to cases involving knowing and willful violations of the law. The Act

 plainly provides that the Court may issue a permanent injunction “upon a proper showing that




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 the person has committed, or is about to commit” a violation of this Act, 2 U.S.C. 437g(a)(6)(B)

 (emphasis added), and the Conference Report explained that this language was intended to

 ensure, inter alia, that “[t]he relief sought in any civil action may include a permanent . . .

 injunction,” H.R. Conf. Rep. No. 1057, 94th Cong., 2d Sess. 47 (April 28, 1976) (emphasis

 added), reprinted in FEC, Legislative History of the Federal Election Campaign Act

 Amendments of 1976 at 1041 (1977) [FEC Ex. 525]. Thus, Defendants’ claim that the

 Commission must provide evidence that they are “about to violate” the Act in order for this

 Court to issue a permanent injunction is contrary to the plain language and the legislative history

 of the Act. It is no wonder that they have found no precedent construing the statute as containing

 such a restriction on a court’s remedial authority.19

        Courts have long recognized that a finding of a statutory violation is itself sufficient to

 support a permanent injunction because such a finding “is highly suggestive of a likelihood of

 future violations.” See SEC v. Management Dynamics, Inc., 515 F.2d 801, 807 (2d Cir. 1975);

 CFTC v. Hunt, 591 F.2d 1211, 1220 (7th Cir. 1979). See also CFTC v. Int’l Berkshire Group

 Holdings, Inc., No. 05-6158, 2006 WL 3716390, at *11 (S.D. Fla. Nov. 3, 2006). “Once the

 government establishes the existence of the statutory violation, the burden shifts to the

 Defendants to show that ‘there is no reasonable expectation that the wrong will be repeated.’”

 Sene X Eleemosynary Corp., 479 F. Supp. 970, 981 (S.D. Fla. 1979) (quoting United States v.


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         Although Defendants do not really explain their assertion that the language of the Act
 only permits a permanent injunction where a Defendant is “about to commit” a violation of the
 Act, it may be based on a misunderstanding of the role of the parenthetical contained in 2 U.S.C.
 437g(a)(6)(B)-- “(if the relief sought is a permanent or temporary injunction or restraining
 order).” As a full reading of the statutory provision makes clear, that phrase does not restrict the
 Court’s authority to issue such relief to instances where a defendant is “about to commit” a
 violation. It specifies instead that when a Defendant “is about to” commit a violation, only
 injunctive relief is authorized, and not civil penalties, which are permitted only when a defendant
 already “has committed” a violation of the Act.


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 W.T. Grant Co., 345 U.S. 629, 633 (1953)). Mere cessation of unlawful activities is not grounds,

 in and of itself, to deny a statutory injunction, particularly where “such cessation arises only as a

 result of official pressure or threatened litigation.” Id.

         Defendants also rely (Br. 28-29, n.8) on Furgatch, 869 F.2d at 1262, in claiming that only

 a finding of “extraordinary intransigence and hostility toward the FEC and the Act” would

 authorize a permanent injunction. However, that argument conflicts with the plain language of

 the Act, other federal regulatory regimes that provide for injunctive relief, and recent Supreme

 Court cases. As we have already explained supra at pp. 25-26, Congress explicitly provided in

 Section 437g(a)(6)(B) for permanent injunctions even for non-willful violations of the Act.

 Moreover, the FECA is not the only statute that relies upon injunctions as a major enforcement

 tool. More than sixty years ago, the Supreme Court noted that most federal regulatory statutes

 provide for enforcement by injunction. Hecht v. Bowles, 321 U.S. 321, 327-29 (1944). Both

 before and after Furgatch was decided by the Ninth Circuit, the rule in the Eleventh Circuit was

 that district courts have discretion to issue a permanent injunction against repetition of proven

 violations of law so long as there is a reasonable “likelihood” that the wrong will be repeated.

 See CFTC v. Sidoti, 178 F.3d 1132, 1137 (11th Cir. 1999); SEC v. Carriba Air, 681 F.2d 1318,

 1322 (11th Cir. 1982); SEC v. Spence & Green Chemical Co., 612 F.2d 896, 903 (5th Cir. 1980).

 To the extent that the Furgatch court purported to create a new rule for the Ninth Circuit that

 forbids permanent injunctions in a class of cases for which the statute explicitly authorizes them,

 the Supreme Court has rejected such an approach. A court is not permitted “to announce a

 categorical rule precluding an expressly authorized form of relief as inappropriate in all cases.”

 EEOC v. Waffle House, Inc., 534 U.S. 279, 291 (2002).




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         Finally, Defendants have not made any objective showing that it is unreasonable to

 expect that they will violate the Act again. Indeed, it has long been recognized that an injunction

 is warranted where, as here, “a violator has continued to maintain that his conduct was blameless

 . . . . ” CFTC v. Hunt, 591 F.2d 1211, 1220 (7th Cir. 1979). As Mr. Kalogianis asserted just six

 months ago:

         This was my money, and there’s nothing anybody can ever say to ever tell
         me otherwise. You cannot tell me that a company that I own a hundred
         percent – that I then make a decision to use that money i[n] a manner in
         which I personally see fit, is somehow not my money. You cannot tell me
         that, but you are. So here we are.

 FEC SMF ¶ 67. Mr. Kalogianis continues to this day to insist that he is entitled to engage in this

 activity, which is explicitly prohibited by the Act, and he continues his tenacious resistance to

 being held responsible for his violations and to taking any action whatever to remedy them. In

 such circumstances, the public is surely entitled to the assurances provided by an injunction that

 does nothing more than forbid the Defendants from engaging in the same sort of unlawful

 activity in the future.

                                          CONCLUSION

         For the foregoing reasons, and those set out in the initial brief, the Commission

 respectfully submits that this Court should deny the Defendants’ motion for summary judgment,

 grant the Commission’s motion for summary judgment, and impose a substantial civil penalty

 and a permanent injunction as remedies for the violations of law at issue.

                                               Respectfully submitted,


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                                    March 23, 2007




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                                       Certificate of Service

        I hereby certify that on March 23, 2007, I electronically filed the foregoing with the Clerk

 of the Court by using the CM/ECF system, which will send a notice of electronic filing to the

 following: Stephen E. Hershkowitz and Charles H. Lichtman, counsel for Defendants.

        I further certify that I e-mailed the foregoing document and the notice of electronic filing

 to the following non-CM/ECF participant: Neil Reiff.


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